 

ease 1 :07-cv-06517 Docu@w"tHWHOJFWéMMB/2o.HS§§@H <6¥-\'1*`13*1

'S."l_LV_LS HHOA SEE[[H:JSHC[ _LVH_L A\O"lElH XOH EH_L HDE[HD aE[SV:) `IV.\LIWIUJ \“-` Sl SlHl. :I|

 

/E|cm \:|s.=m ¢;AHNHOLLV Wlm am sv L;)v no,\ Tlh\\ “1\¢‘&11 SJHJVHH 35¥:) 311-ll 31

 

 

 

 

|:|0..\' -S:-La ¢HVH Wlul S.lmc)n SlHl 30 uaw-wm v _'10.-\ auv
|z|cm F S?IA £,ElSV:) SlHl NI HSNHOS) 1‘¢':)01 Sv D>;IL;)V HOA JHV
ON I:ISEIA frast SIHL .\;I HS:§-'\OJ civle Sv Dm_l_av nc)_.\ am
L9F.`9"(:.-"'.€ (Zl'§) §3103€9

HEIHNL.‘< aNoHd§nElL (SNOllJ_-'mls_\u m ~: 1-\;311 33§) HHHc-mx al

 

 

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UPIUlJQI-I ‘\=' mm
llu!ld 10 JCL\'_[_} m.\qc-_\;

 

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ueuua[ 9311919_1_

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10d9(] QLLIC»[_] 31{_[_ e__.-q__-p
‘uop,mudlo:) u§}elcg E ";)u] "V'S'n mda(] aluoH
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LI§Q :) LO iquU-mN 93\3;) 010 19112],\§ 91{1 ul

 

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103 psp].rxolcl se a:);¢\ amf md lesdde 01 meal palue.l§` sq 10 leq leasing sallqu 551{130 'Eujpuels

pooB ug lgqulalu 12 aq 131{1§9 lsnul ,(Qulonn un 111103 squ elojsq JP;)ddB 01 laplo ul ;§[l@._\'.

I*\.THO.:I HZ)NVHVH<I<IV AI\‘“HOLJ.V'
SIONIT'H .th .LJIH.LSIG NHE[H.LHON E[H.L HO.:I lHHOD lDIHlSIC[ 'S']

 

